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13
                              UNITED STATES DISTRICT COURT
14                         NORTHERN DISTRICT OF CALIFORNIA
15
   SEB INVESTMENT MANAGEMENT AB,
16 individually and on behalf of all others    Case No. 3:18-cv-02902-WHA
   similarly situated,
17                                             ECF CASE
   Plaintiffs,
18                                             DECLARATION OF JEREMY P.
   v.                                          ROBINSON IN SUPPORT OF
19                                             PLAINTIFF’S OPPOSITION TO
   SYMANTEC CORPORATION, and                   DEFENDANTS’ ADMINISTRATIVE
20 GREGORY S. CLARK                            MOTION FOR LEAVE TO FILE SUR-
                                               REPLY
21
                       Defendants.
22                                             [Civil Local Rules 7-11 and 79-5]
23                                             Dept.: Courtroom 12, 19th Floor
                                               Judge: Honorable William H. Alsup
24

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      DECL. OF JEREMY ROBINSON ISO PLAINTIFF’S OPP. TO DEFENDANTS’
      ADMIN. MOTION FOR LEAVE TO FILE SUR-REPLY
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 1 I, Jeremy P. Robinson, declare:

 2          1.      I am an attorney licensed to practice law in the State of New York and am admitted
 3 to appear pro hac vice in this action. I am a partner at the law firm of Bernstein Litowitz Berger

 4 & Grossmann LLP, located at 1251 Avenue of the Americas, New York, NY 10020, and counsel

 5 for Court-Appointed Plaintiff SEB Investment Management AB (“Plaintiff”). I submit this

 6 Declaration in Support of Plaintiff’s Opposition to Defendants’ Administrative Motion for Leave

 7 to File Sur-Reply. I have personal knowledge of the facts stated herein, and if called to testify,

 8 could and would competently thereto.

 9          2.      On November 19, 2019, in connection with discussions regarding the parties’ initial
10 Joint Case Management Statement, my colleague Rebecca Boon sent an email to Defendants

11 attaching a draft Joint Case Management Statement (the “Initial Draft CMC”) that included a

12 proposed deadline for Defendants to complete their production of documents produced in other

13 actions or provided to any governmental agency. A true and correct copy of Ms. Boon’s November

14 19, 2019 email, including only the Initial Draft CMC-related attachments, is attached hereto as

15 Exhibit 1.

16          3.      On November 25, 2019, Jerome F. Birn, Jr., counsel of record for Defendant
17 Symantec Corporation (“Symantec”) replied, attaching a revised version of the Initial Draft CMC

18 that rejected the deadline for Defendants to produce previously-produced documents and purported

19 to give Defendants the ability to file extra briefing concerning Plaintiff’s motion for class

20 certification (the “Certification Motion”), including a “last word” filling that they styled as a

21 “Reply re: Motion Challenging Class Certification.” This was in substantively the same thing as

22 a sur-reply for Defendants. A true and correct copy of Mr. Birn’s November 25, 2019 email,

23 including its attachments, is attached hereto as Exhibit 2, with highlighting added for reference.

24          4.      On November 27, 2019, Ms. Boon responded to Defendants’ proposal, attaching a
25 revised version of the Initial Draft CMC and stating “[t]his reflects a proposed compromise and

26 our attempt to meet in the middle.” This revised version removed Defendants’ insertion of an
27 opportunity to file an extra “last word” sur-reply brief, and left in place Defendants’ removal of

28 the deadline for them to produce previously-produced documents. A true and correct copy of Ms.
       DECL. OF JEREMY ROBINSON ISO PLAINTIFF’S OPP. TO DEFENDANTS’
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 1 Boon’s November 27, 2019 email, including its attachment, is attached hereto as Exhibit 3, with

 2 highlighting added for reference.

 3          5.      On November 27, 2019, Mr. Birn responded to Ms. Boon’s November 27, 2019
 4 email, writing that Plaintiff’s “proposed CMC Statement is acceptable to defendants, with one

 5 addition. In the proposed schedule, where it now says ‘Defendants to File Opposition to Motion

 6 for Class Certification,’ please add ‘(including any arguments where Defendants bear the burden

 7 of proof).’” Mr. Birn also purported to reserve the right to file a sur-reply. A true and correct copy

 8 of Mr. Birn’s November 27, 2019 email, including its attachment, is attached hereto as Exhibit 4,

 9 with highlighting added for reference.
10          6.      On February 5, 2020, Evan Seite, counsel for Symantec, sent an email attaching a
11 draft revised joint case management statement (the “Second Round Draft CMC”) prior to the Case

12 Management Conference before this Court on February 13, 2020. The version he sent erroneously

13 included Defendants’ opportunity to file extra briefing concerning Plaintiff’s Certification Motion

14 – namely the same extra briefing that they had previously proposed. A true and correct copy of

15 the February 5, 2020 email and attached joint Case Management Statement, is attached hereto as

16 Exhibit 5, with highlighting added for reference.

17          7.      Ms. Boon and I quickly called counsel for Symantec and said that their inclusion
18 of extra briefing rights must be a mistake given the parties’ prior negotiations. Defendants agreed.

19          8.      Shortly thereafter, Mr. Seite sent a corrected version of the joint Case Management
20 Statement with no extra briefing privileges for Defendants. There was no reservation of the right

21 to seek leave to file a sur-reply. A true and correct copy of Mr. Seite’s February 5, 2020 email

22 with its attachment, is attached hereto as Exhibit 6, with highlighting added for reference.

23          I declare under penalty of perjury under the laws of the United States that the foregoing is
24 true and correct.

25          Executed this 23rd day of March, 2020, in New York, New York.
26                                                  /s/ Jeremy P. Robinson
                                                   Jeremy P. Robinson
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       DECL. OF JEREMY ROBINSON ISO PLAINTIFF’S OPP. TO DEFENDANTS’
       ADMIN. MOTION FOR LEAVE TO FILE SUR-REPLY
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